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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF OKLAHOMA

SUZETTE GRILLOT,                                      )
                                                      )
        Plaintiff,                                    )
                                                      )
v.                                                    )         Case No: CIV-19-241-J
                                                      )
STATE OF OKLAHOMA, ex rel.,                           )
UNIVERSITY OF OKLAHOMA                                )
BOARD OF REGENTS; et al.,                             )
                                                      )
        Defendants.                                   )

     DEFENDANT UNIVERSITY OF OKLAHOMA’S MOTION TO FILE UNDER SEAL
        Defendant University of Oklahoma moves the Court for leave to file under seal the

University of Oklahoma’s Brief in Support of its Rule 37 Motion to Amend the Scheduling Order,

along with its exhibits.

        In support of this motion, the University shows the Court as follows:

        1.     There is an existing Protective Order in this case (Dkt. Item. No. 35), and it allows

documents to be marked Confidential. Moreover, under the terms of that Protective Order, such

documents marked confidential “shall be used only for the purposes of this litigation and not for

any other purpose whatsoever.” (Protective Order, pg. 2, ¶3, Exhibit 1 hereto).

        2.     Pursuant to that Protective Order, the University has produced documents, and in

particular one document was marked confidential, and in apparent violation of the Protective

Order, it has been used for purposes outside this litigation.




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       3.       The University of Oklahoma is prepared to publicly file a simple one paragraph

Motion setting forth the existence of the violation of the Protective Order and requesting relief in

the form of an Amended Protective Order.

       4.       However, the University’s Brief in Support of the Motion will need to attach and

discuss the confidential document, and furthermore, will need to attach an affidavit discussing how

the confidential document was used for purposes outside the litigation.           Accordingly, the

University seeks to file the Motion itself publicly, but file the Brief in Support, together with its

exhibits, under seal.

       3.       The existing Protective Order recites at Paragraph 5 that “The parties will comply

with the procedures set forth in the Electronic Filing Policy and Procedures Manual (“ECF Policies

& Procedures Manual”) for filing under seal Confidential Material subject to this Protective

Order.” (Protective Order, Exhibit 1, ¶ 5, pg. 3). The University is prepared to follow those

procedures.




                                                      Respectfully submitted,


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                                                      and

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                                               ATTORNEYS FOR DEFENDANTS

                           CERTIFICATE OF SERVICE
       I hereby certify that on June 24, 2020, I electronically transmitted the attached
document to the Clerk of Court using the ECF system for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the
following ECF registrants:


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Attorney for Plaintiff


                                        s/ Anton J. Rupert




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